Case 2:Ol-CV-02780-SHI\/|-STA Document 258 Filed 06/09/05 Page 1 of 3 Page|D 304

 

FH.ED B",» C
:N THE UNITED sTATES DISTRICT cOURT - o.r;_
FoR THE WESTERN DISTRICT oF TENNESSEE ggJUN_
WESTERN DIvISIoN 9 PH 3,- 38
Rnnm~-
V§LEHE:;‘ ;;`-?fg.~ "~i;§?o;zo
THE cLARK coNsTRUcTIoN GROUP, INC., -D‘ off ~;¢\;' L';;T or
INKMFH@
Piaintiff,
vs. No. 01-2780-Ma

CITY OF MEMPHIS, ET AL.,

Defendants.

 

ORDER GRANTING MOTION TO CONTINUE STATUS CONFERENCE

 

Before the court is the June 7, 2005, joint motion of the
parties, to reset the status conference which Was set on June
8, 2005. For good cause shown, the motion is granted. The

status conference is reset to Friday, June 24, 2005, at 9:15 a.m.

It is so ORDERED this sM` day of J:j,{ 2005.
(///“4,.`

 

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

   

UND11E` sTAETs D11R1C1 COURT- WESTERN 1)1811C oF 1ENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 258 in
case 2:01-CV-02780 Was distributed by faX, mail, or direct printing on
June 10, 2005 to the parties listed.

 

 

Ricky E. Wilkins

LAW OFFICE OF RICKY E. WILKINS
119 S. Main St.

Ste. 700

1\/1emphis7 TN 38103

Michael I. Less

LESS GETZ & LIPMAN
100 Peabody Place

Ste. 1000

1\/1emphis7 TN 38103

Daniel Warren Van Horn
ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/1emphis7 TN 38103--246

.1 effrey R. Gans

THELEN REID & PRIEST LLP
701 Pennsylvania Ave.7 N.W.
Ste. 800

Washington, DC 20004

.1 ohn W. Ralls

THELEN REID & PRIEST
101 Second Street

18th Fl.

San Francisco, CA 94105

Christopher 1\/1. Caputo
LESS GETZ & LIPMAN
100 Peabody Place

Ste. 1000

1\/1emphis7 TN 38103

Case 2:Ol-cV-02780-SHI\/|-STA Document 258 Filed 06/09/05 Page 3 of 3 Page|D 306

Michael Evan .1 affe

THELEN REID & PRIEST LLP
701 Pennsylvania Ave.7 N.W.
Ste. 800

Washington, DC 20004

Timothy R. Johnson

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

1\/1emphis7 TN 38103

Lucian T. Pera

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/1emphis7 TN 38103--246

Albert C. Harvey

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/1emphis7 TN 38103--552

Taylor Cates

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

.1 oseph T. Getz

LESS GETZ & LIPMAN
100 Peabody Place

Ste. 1000

1\/1emphis7 TN 38103

William M. Jeter

LAW OFFICE OF WILLIAM .TETER
35 Union Ave.

Ste. 300

1\/1emphis7 TN 38103

.1 ames R. Nerand

THELEN REID & PRIEST
Market Square

Ste. 800

701 Pennsylvania Ave.7 N.W.
Washington, DC 20004

Honorable Samuel Mays
US DISTRICT COURT

